
Smith, J.
I concur in the results reached by 'the majority, of the court in this case; but I reach- the conclusion that the assignment was effective by -a -different method of reasoning.
The main question in this case is: Was the instrument of transfer (signed by Edwin Besuden and Annette R. Besuden sufficient to convey the policy to Llewellyn B. Reakirt as collateral security for his debt?
*651The transfer from Edwin Besuden to Annette R. Besuden is as follows:
*‘For value received I hereby transfer, assign and set over unto Annette R. Besuden and assigns, all my right, title and interest in policy of insurance issued by the Provident Life &amp; Trust Company of Philadelphia, No. 38609, dated May 29, 1889, and all advantages) to be derived 'therefrom, provided said assignee should survive me; otherwise all right, title and interest in the said policy is to revert to me a|s fully as if this assignment had never been made. ’ ’
The contention that the assignment by Edwin Besuden and Annette R. Besuden to- Reakirt was not effective is based upon the claim that the transfer by Edwin Besuden to Annette R. Besuden was not “solely for her use” ajs provided in Section 3629; that her children therefore acquired an interest in the policy, and therefore the assignment of the policy was not good without the consent of the children.
Section 3629 in one clause declares that—
“A policy of insurance on the life of any person duly assigned, transferred or made payable to any married woman or to any person in trnlst for her or for her benefit, whether such transfer is made by her husband or other person shall inure to her separate use and benefit, and that of her children independently of her husband or his creditors or of the person effecting or transferring the same or his creditors;”
And in the latter part of the same section it is declared that—
■* * ■ * “and if by its terms, or a transfer thereof, a policy is payable to a married woman solely for her use she may sell, assign or (surrender the same, but the party whose life is insured shall concur in and become a party to the transfer. ’ ’
It seems to me that this statute has no application to the case at bar for the reason that both provisions of the statute above referred to have reference only to a case where a policy of insurance is transferred absolutely-to a married woman. In such a case the transfer inures to the benefit of her children, and she can not assign it without their consent unless in the language of the statute it is transferred to her “solely for her use.”
In Sticken v. Schmidt, 64 O. S., 354, 359, the policy of insurance was on the life of the hujsband and the policy was *652payable to Ms wife, Louisa Keck, of in tbe event of her death prior to that of the assured, to his surviving children, share and share alike, or in the event of no children surviving, then »to the legal representatives of the insured. .
Sayler é Sayler, for plaintiff.
Wright &lt;Ss Wright, for defendant.
The policy in Sticken v. Schmidt differed from the policy in the casé at bar before the assignment to Reakirt jin only one respect. It provided in a certain contingency that it should'go to the children, whereas this policy with the transfer contains no such provision; but in both policies the wife was, to get the benefit'of the policy only in the event of her surviving her husband.
It was held in Sticken v. Schmidt that Section 3629 did not apply to such a policy. The court (said: •
“Both provisions (of the statute), it will be noticed, are applicable only to policies in which the wife is the sole beneficiary named, and which are issued for her sole use. The defendant’s policy was not of that nature and not within the purview of the statute. By its terms the children and personal representatives of the insured were made beneficiaries and had an interest of the same general nature as that of the defendant though, more remote. The interest of each depended on the contingency of survivorship; and it seems evident that she could not by a sale of the policy without the consent of the other beneficiaries any more than could they by sale without her consent confer any title on the purchaser; nor could either without the concurrence of all surrender the policy, or accept a paid-up one in itjs stead.”
If the words “the children” are omitted from the above citation, it is applicable exactly as it is written to the policy in the case at bar; and it therefore follows that Section 3629 is not applicable to such a policy, and since the only beneficiaries were the husband and wife and both had joined in the transfer of the policy, the transfer has been made by all persons having an interest in it, and the transfer is effective.
